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           IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                      TALLAHASSEE DIVISION




ESTINA BARNES,

              Plaintiff,

v.                                            CASE NO. 4:19cv525-RH-MAF

CSG SYSTEMS, INC.,

              Defendant.

______________________________/


                             ORDER OF DISMISSAL


       This case is before the court on the magistrate judge’s report and

recommendation, ECF No. 31. No objections have been filed. As set out in the

report and recommendation, the plaintiff apparently has abandoned the case. Upon

consideration,

       IT IS ORDERED:

              The report and recommendation is accepted and adopted as the court’s

opinion. The clerk must enter judgment stating, “This case is dismissed for failure




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to prosecute.” The clerk must close the file.

       SO ORDERED on October 19, 2020.

                                       s/Robert L. Hinkle
                                       United States District Judge




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